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                  EXHIBIT C
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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION
OPIATE LITIGATION                                    MDL No. 2804

THIS DOCUMENT RELATES TO:                            Case No. 1:17-md-2804

Cleveland Bakers and Teamsters Health                Hon. Dan Aaron Polster
and Welfare Fund, et al. v. Purdue Pharma
L.P., et al., Case No. 1:18-op-45432-DAP


   [PROPOSED] ORDER GRANTING DISTRIBUTORS’ MOTION TO CERTIFY
 UNDER 28 U.S.C. § 1292(b) THE COURT’S FEBRUARY 21, 2020 ORDER DENYING
    IN PART THEIR MOTION TO DISMISS THIRD-PARTY PAYOR CLAIMS,
         FOR PURPOSES OF SEEKING IMMEDIATE APPEAL OF THE
     COURT’S RULINGS THAT DENIED DISMISSAL OF THE RICO CLAIMS

       This matter having come before the Court upon motion by Defendants AmerisourceBergen

Drug Corporation, Cardinal Health, Inc., and McKesson Corporation (“Distributors”) to certify

under 28 U.S.C. § 1292(b) the Court’s February 21, 2020 Opinion and Order, Dkt. 3177 (“Order”)

denying in part their motion to dismiss claims asserted by Cleveland Bakers and Teamsters Health

and Welfare Fund and Pipe Fitters Local Union No. 120 Insurance Fund (collectively, the “Third-

Party Payors”), for purposes of an immediate appeal of the Court’s rulings that denied dismissal

of the RICO claims; the Court having reviewed the motion, and related papers; due and proper

notice having been provided; and, after due deliberation, the Court finds that Distributors’ motion

should be GRANTED.

       The Court hereby incorporates by reference herein the Order and AMENDS the Order to

include this Court’s determination that the Order involves controlling questions of law as to which

there is substantial ground for difference of opinion, namely (1) whether the Third-Party Payors’

allegations meet RICO’s direct injury and proximate causation requirement, and (2) whether the
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Third-Party Payors’ allegations satisfy RICO’s requirement of injury to “business or property”;

and that immediate appeal on those issues may materially advance the ultimate termination of the

litigation.



        SO ORDERED this __ day of ________, 2020.



                                            __________________________________________

                                            HON. DAN AARON POLSTER
                                            UNITED STATES DISTRICT JUDGE
